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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ADIDAS AG,

Plaintiff,
C.A. No. l4~lSO-Gl\/IS
v.
JURY TRIAL DEMANDED
UNDER ARl\/IOUR, INC. and
MAPMYFITNESS, INC.,

Defendants.

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MOTION TO MODIFY THE COURT’S CLAIM CONSTRUCTION ORDER

MapMyFitness, Inc. and Under Armour, Inc. (collectively, “Defendants”) respectfully
move the Court to modify the Court’s Claim Construction Order of June 15, 2015 (D.l. 161)
such that the construction of “route path” in claims l and ll of U.S Pat. No. 8,068,858 requires
that a “route path” be predetermined The legal and factual bases for this limited change are
fully set forth in Defendants’ Memorandum Of Points And Authorities In Support Of Their
Motion To Modify The Court’s Claim Construction Order, filed contemporaneously herewith

Pursuant to D. Del. LR '7. l . l, counsel for parties met and conferred; Plaintiff Will oppose

this motion.

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Respectfully submitted,

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Dated: October 22, 20l5
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